Case 1:18-cv-11642-VM-VF    Document 440     Filed 06/21/23   Page 1 of 4



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                     06/21/2023

  WAYNE BALIGA,
                                                      18 Civ. 11642 (VM)
                           Plaintiff,
                                                      ORDER
                  - against -

  LINK MOTION INC. et al.,

                           Defendants.


 VICTOR MARRERO, United States District Judge.

       On May 26, 2023, Vincent Wenyong Shi (“Shi”) filed a

 Proposed Order to Show Cause with Emergency Relief seeking to

 have the Court enjoin the court-appointed receiver, Robert W.

 Seiden (“Receiver”) from convening an Extraordinary General

 Meeting (“EGM”) of the shareholders of Link Motion Inc.

 (“LKM”). (See “OSC,” Dkt. No. 421.) That same day, the Court

 entered an Order “temporarily enjoin[ing]” the Receiver “and

 the   Receiver’s     agent     in      China,     Francis    “Lilin”       Guo

 (“Guo”) . . .     from     proceeding      with    any   [EGMs]    of      the

 shareholders of LKM, including those noticed for May 30, 2023

 and May 31, 2023 until further Order of this Court.” (Dkt.

 No. 425.) Per the Court’s direction, the Receiver filed a

 response to Shi’s OSC. (See Dkt. Nos. 428-30.) Along with the

 Receiver’s brief, he attached voluminous receipts -- all in

 Chinese -- of Guo’s expenses related to a Convertible Note

 Agreement with Guo that the Court had previously approved.



                                        1
Case 1:18-cv-11642-VM-VF     Document 440    Filed 06/21/23   Page 2 of 4




 (See Dkt. No. 428.) Shi filed a reply. (See Dkt. Nos. 437,

 438 (corrected version).)

       The crux of this dispute involves the propriety of the

 expenses Guo incurred as the Receiver’s agent in China. Per

 the court-approved Convertible Note Agreement, those expenses

 served as the basis for converting Guo’s debt to equity in

 LKM, allowing Guo to accrue substantial voting power in LKM.

 While the Receiver provided substantial documentation of

 Guo’s expenses, all that documentation is in Chinese, and the

 Court has no way to review the expenses in any accurate or

 verifiable manner.

       The   Receiver        maintains      that   the     expenses     were

 legitimate. In his Reply, Shi characterizes that, to the

 extent he was able to translate the receipts, the expenses

 show that “Guo lived in luxury hotels in Beijing, paid

 personal expenses, and transferred money to himself.” (Dkt.

 No. 438 at 8.) The Receiver did not provide a certified

 translation of the documents due to the Receivership’s lack

 of funds and the significant cost of translating the documents

 and insists that Shi must advance the cost of translation.

 (Dkt. No. 430 at 9 n.3.)

       The Court cannot credit either Shi’s or the Receiver’s

 characterizations      of    Guo’s   expenses     without     a   certified

 translation    of   the     receipts     and   expenses      in   question.


                                      2
Case 1:18-cv-11642-VM-VF   Document 440      Filed 06/21/23    Page 3 of 4




 Accordingly, and to reserve judicial resources and avoid

 conflicting orders, the Court reserves its decision on Shi’s

 motion and extends the injunction granted at Dkt. No. 425

 until the Receiver’s accounting of expenses, including Guo’s,

 is resolved.

       Those issues are set to be resolved soon. Magistrate

 Judge Figueredo has scheduled a hearing for June 27, 2023 and

 has directed the Receiver to address Guo’s expenses and

 compensation. (See Dkt. No. 434.) The Receiver can address

 the validity of Guo’s expenses by providing a certified

 translation at that time.

       As to who should bear the costs of translation, based on

 a review of persuasive federal case law, it appears the most

 proper procedure is not through an advance, but through a

 motion for reimbursement after those costs are incurred. Cf.

 Stapleton v. Kawasaki Heavy Indus., Ltd., 69 F.R.D. 489, 490

 (N.D. Ga. 1975) (finding cost shifting appropriate under

 Federal Rule of Civil Procedure 371 (“Rule 37”)); M-I Drilling

 Fluids UK Ltd. v. Dynamic Air Inc., No. 14 Civ. 4857, 2018 WL

 3104240,    at   *16   (D.   Minn.       Feb.   27   2018),    report       and


 1 The Court in Stapleton found that cost-shifting was appropriate under
 the subsection of Rule 37 related to sanctions due to the producing
 party’s malfeasance. 69 F.R.D. at 490.     Relief under that subsection,
 Rule 37(b)(2), would not be available here, however, Rule 37(a)(5)(A)
 likely provides an avenue for the Receiver’s requested relief as Shi’s
 OSC motion and objection to Guo’s expenses caused the Receiver to produce
 the records that required translation.



                                      3
Case 1:18-cv-11642-VM-VF     Document 440      Filed 06/21/23    Page 4 of 4




 recommendation adopted in relevant part by 2018 WL 1399308,

 at *4 (D. Minn. Mar. 20, 2018) (indicating that costs of

 translation are available under 35 U.S.C. Section 285, but

 denying request for cost of translation where party failed to

 “demonstrate    that      the   translation     fees    it     incurred   were

 reasonably necessary to its defense of the lawsuit”); but see

 In re Puerto Rico Elec. Power Auth., 687 F.2d 501, 509 (1st

 Cir. 1982) (suggesting but not deciding that “[w]here one

 party has no resources by which to translate a key document,

 for example, and the producing party possesses easy access to

 such resources, a district court’s inherent authority to

 regulate the ‘terms and conditions of discovery’ and to make

 ‘just’   orders   requiring       a   party     to   ‘provide      or   permit

 discovery’ may conceivably support a translation order”). The

 Receiver is thus directed to provide a certified translation

 of the Chinese language documents and may, as appropriate,

 seek reimbursement.



 SO ORDERED.

 Dated:      21 June 2023
             New York, New York



                                                _________________________
                                                     Victor Marrero
                                                        U.S.D.J.




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